Case 2:15-ml-02668-PSG-SK Document 367-4 Filed 12/14/21 Page 1 of 4 Page ID #:5312




          EXHIBIT 3 TO DECLARATION OF
               EDWARD DELMAN
Case 2:15-ml-02668-PSG-SK Document 367-4 Filed 12/14/21 Page 2 of 4 Page ID #:5313

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            November 8, 2021

            VIA E-MAIL

            Jeremy Barber
            Wilkinson Stekloff LLP
            130 W 42nd Street, 24th Floor
            New York, NY 10036

            Re:       In re National Football League’s “Sunday Ticket” Antitrust Litigation,
                      Case No. 2:15-ml-02668-PSG (JEMx) (C.D. Cal.)


            Dear Jeremy:

                    Plaintiffs write regarding the NFL Defendants’ improper partial redaction
            of contracts with CBS, ESPN, FOX, and NBC. Plaintiffs provide this letter pursuant
            to Local Rule 37-1 and request a meet and confer to discuss these redactions.
            Plaintiffs propose conducting the meet and confer at 3:00pm ET on November 11,
            2021. If that date and time does not work, please propose an alternative within the
            timeframe provided in Local Rule 37-1.

            NFL Defendants Have Improperly Redacted Portions of Network Contracts

                    In response to Plaintiffs’ discovery requests, the NFL Defendants have
            produced copies of its various contracts with CBS, ESPN, FOX, and NBC for the
            licensing and telecasting of live NFL football games (the “Network Contracts”). A
            non-exhaustive list of the documents at issue includes NFL_0000001;
            NFL_0000133; NFL_0377291; NFL_0419932; NFL_0458529; NFL_0458574;
            NFL_ 0458617; and NFL_0458699. Each of these contracts includes significant
            redactions. As an illustrative example, the NFL-CBS contract found at
            NFL_458529 contains redactions regarding, inter alia, alternate telecasts, mobile
            phones and tablets, and NFL streaming. Moreover, there are entire pages that are
            fully redacted.
Case 2:15-ml-02668-PSG-SK Document 367-4 Filed 12/14/21 Page 3 of 4 Page ID #:5314



        November 8, 2021
        Page 2



                 The NFL Defendants have no legal basis for redacting any portion of these
        critical documents, and the NFL Defendants should produce unredacted copies of
        these contracts immediately.1 As an initial matter, insofar as the NFL Defendants
        have redacted the Network Contracts in reliance on a stipulation dating from 2016,
        see Dkt. 205, that stipulation offers no support for the NFL Defendants’ redactions.
        The stipulation that the parties, CBS, and FOX agreed to in November 2016 was
        specifically designed “for providing limited discovery to Plaintiffs during the
        pendency of the NFL Defendants’ Motion to Dismiss and DIRECTV’s Motion to
        Compel Arbitration and Stay Proceedings.” See id. As the NFL Defendants are
        aware, that motion to dismiss ultimately failed, and there is nothing limited about
        the discovery process in which the parties are currently engaged. The parties’ 2016
        stipulation simply has no continuing relevance at this stage of the litigation.

                Concerns about confidentiality and relevance are likewise an inadequate
        excuse for the NFL Defendants’ conduct. As to confidentiality, the parties have
        stipulated to, and the Court has entered, a protective order that will ensure that any
        sensitive information contained in the Network Contracts is appropriately
        safeguarded. See MetroPCS v. A2Z Connection, LLC, 2020 WL 127550, at *2 (D.
        Nev. Jan. 10, 2020) (ordering that unredacted documents be produced because,
        “[t]o the extent the concern is privacy or confidentiality, a protective order will
        alleviate that concern”); Reynolds v. Liberty Mut. Ins. Co., 2017 WL 6415360, at
        *2 n.2 (D. Ariz. May 23, 2017) (finding that “in light of the Protective Order issued
        in this case, Defendant may not redact discoverable material on the basis of
        confidentiality”); Hill v. Asset Acceptance, LLC, 2014 WL 3014945, at *4 (S.D.
        Cal. July 3, 2014) (ordering Defendant to remove all non-privilege-related
        redactions in part because “there is a protective order in this case governing the
        exchange of confidential information”).

                Appeals to the alleged irrelevancy of the redacted information also fall flat.
        Redactions for non-responsiveness are not permitted. See, e.g., Toyo Tire & Rubber
        Co. v. CIA Wheel Grp., 2016 WL 6246384, at *2 (C.D. Cal. Feb. 23, 2016) (“[The
        defendant] may not redact otherwise responsive documents because those
        documents contain irrelevant material.”); Perez v. Wells Fargo Bank, N.A., 2019
        WL 289831, at *1 (N.D. Cal. Jan. 8, 2019) (“The delay and distrust caused by
        Defendant’s decision to redact this recent batch of documents are the precise
        reasons why relevancy redactions are ill advised.”); Evon v. Law Offices of Sidney
        Mickell, 2010 WL 455476, at *2 n.1 (E.D. Cal. Feb. 3, 2010) (“[A] party should
        not take it upon him, her or itself to decide unilaterally what context is necessary

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          Notably, while the NFL Defendants made significant redactions to the Network Contracts, they
        made no such redactions to the NFL’s contract with Amazon for Thursday Night Football. This
        inconsistency makes clear that the NFL Defendants’ redactions are based not on any legal
        grounds, but instead are merely favors done by the NFL Defendants for their broadcast partners.
Case 2:15-ml-02668-PSG-SK Document 367-4 Filed 12/14/21 Page 4 of 4 Page ID #:5315



        November 8, 2021
        Page 3



        for the non-redacted part disclosed, and what might be useless to the case. It should
        not come as a shock to those involved in litigation, that parties may see the outcome
        differently.”).

                Moreover, even if redactions for irrelevancy were permissible, there is no
        part of the Network Contracts that is irrelevant. As alleged in Plaintiffs’
        consolidated amended complaint, the Network Contracts are a key component of
        the interlocking agreements that make up the restraints at issue in this action. See,
        e.g., Dkt. 163 at ¶ 10 (citing the Network Contracts as one of the reasons for the
        “blackout or unavailability of out-of-market games”). Even seemingly unimportant
        portions of the Network Contracts may provide evidence relevant to Plaintiffs’
        antitrust claims, including evidence rebutting alleged procompetitive justifications
        or showing less restrictive alternatives. Therefore, the NFL Defendants should
        produce the Network Contracts in their entirety. If the NFL Defendants fail to so
        produce, Plaintiffs will move to compel.

        Sincerely,




        Edward Delman

        Cc: All NFL Defendants’ counsel
